Case 7:21-cr-01673 Document1 Filed on 07/30/21 in TXSD Page 1 of 2

AO 91 (Rev 8/01) Criminal Complaint

 

United States Courts Southern

United States District Court District of Texas

 

 

. FILED

SOUTHERN DISTRICT OF TEXAS
MCALLEN DIVISION July 30, 2024
UNITED STATES OF AMERICA Na Mil n Ochsner, Clerk of CAINT
Vv. CRIMINAL COMP
Gerardo Echavarria-Ledezma Principal Case Number:
YOR: 1982 Mexico M-21-1646-M
(Name and Address of Defendant)

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief. On or about 712912021 in Hidalgo County, im

the Southern District of Texas defendants(s) did,
(Track Statutory Language of Offense)

 

knowing or in reckless disregard of the fact that Brayan Yohalma Jimenez-Giron, a citizen and national of El
Salvador, and Bernardo Antonio, a citizen and national of E] Salvador, along with two (2) other undocumented
aliens, for a total of four (4), who had entered the United States in violation of law, concealed, harbored or
shielded from detection or attempt to conceal, harbor, or shield from detection such aliens in any place,
including any building or means of transportation, to wit; a residence in Weslaco, Texas,

in violation of Title 8 United States Code, Section(s) 1324(a)(1)(A)(iii) FELONY

 

I further state that I am a(n) _U.S.Border Patrol Agent and that this complaint is based on the
following facts:

On December 15, 2020 and February 5, 2021, Border Patrol Agents received information from illegal aliens (LAs), in Border
Patrol custody, regarding a residence being used to harbor IAs in Weslaco, Texas.

On July 29, 2021, Agents observed a male in a black Dodge pickup truck exit the property and drive to another residence to pick
up another male subject. Donna Police Officers, who were contacted to assist with the investigation, initiated a vehicle stop for
an expired license plate. Agents arrived on scene and questioned the driver, identified as Gerardo Echavarria-Ledezma, about
his involvement with alien smuggling. Echavarria admitted that there was one (1) El Salvadorian citizen at his residence. After
being read his Miranda Rights and agreeing to speak with Agents without the presence of an attorney, Echavarria freely
admitted to being a citizen and national of Mexico illegally present in the United States. Echavarria admitted to renting his
residence and gave Agents verbal and written consent, as well as the gate lock code to search his residence.

SEE ATTACHED
Continued on the attached sheet and made a part of this complaint: [X]Yes [_]No
Complaint authorized by AUSA Matthew Phelps /S/ Shakira Singho

 

Submitted by refiable electronic means, sworn to and attested Signature of Complainant

telephonically per Fed. R. Cr. P. 4.1, and probable cause found on: Shakira Singho Border Patrol Agent
Printed Name of Complainant

7/30/2021 at 4:55 p.m. at
Date

McAllen, Texas LL

City "LZ

cial Officer

   
 

J. Scott Hacker _ U.S. Magistrate Judge
Name and Title of Judicial Officer
Case 7:21-cr-01673 Document1 Filed on 07/30/21 in TXSD Page 2 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
McALLEN, TEXAS

ATTACHMENT TO CRIMINAL COMPLAINT:
M-21-1646-M

RE: Gerardo Echavarria-Ledezma

CONTINUATION:

Agents interviewed the passenger, who was determined to be legally present in the United States.

When Agents and Hidalgo County Sherriff Deputies arrived at Echavarria’s residence in Weslaco, TX, they
located four (4) subjects who were determined to be illegally present in the United States. Echavarria and the
four (4) IAs, were placed under arrest and transported to the Weslaco Border Patrol Station for processing.

PRINCIPAL STATEMENT:
Gerardo Echavarria-Ledezma, a citizen and national of Mexico, was advised of his Miranda Rights, stated he
understood his Rights, and agreed to provide a statement.

Echavarria stated he began renting his residence for $1,200 per month shortly after illegally crossing into the
United States on March 15, 2018. Echavarria claimed that a childhood friend asked him if he could house four
(4) relatives. Echavarria admitted he would occasionally offer the subjects food, buy groceries, and take them
grocery shopping. He said they would use their own money or money sent by family members.

MATERIAL WITNESS STATEMENT |:
Bernardo Antonio Perez-Castillo, a citizen and national of El Salvador, was advised of his Miranda Rights,
stated he understood his Rights, and agreed to provide a statement.

Perez stated that his friend made arrangements for him to be smuggled into the United States and paid
approximately $8,000 to $9,000. Perez stated that after crossing the river with ten (10) other people, he was
transported to the house where he was jater encountered. He stated there were two (2) people at the house when
he arrived. Perez claimed to have been harbored at the house for approximately one (1) month. He said that a
female would provide them food.

Perez was unable to identify Gerardo Echavarria-Ledezma, through a photo lineup, as the owner of the
residence.

MATERIAL WITNESS STATEMENT 2:
Brayan Jimenez-Giron, a citizen and national of E] Salvador, was advised of his Miranda Rights, stated he
understood his Rights, and agreed to provide a statement.

Jimenez admitted that his father-in-law made arrangements to be smuggled into the United States and paid
$2,500. Jimenez stated that after crossing the Rio Grande River into the United States, he was eventually
transported to the house where he was encountered. He stated there were three (3) people at the house when he
first arrived. Jimenez claimed he had been harbored at the house for approximately twenty (20) days and that a
female subject would provide them food three (3) times per day. Jimenez stated that he met the owner of the
house once when he was invited outside (by him) for a barbeque.

Jimenez identified Gerardo Echavarria-Ledezma, through a photo lineup, as the owner that invited him outside
to eat.

Page 2
